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                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS


UNITED STATES OF AMERICA

v.                                      No. 4:04CR00189 GH

DEXTER ROSS


                      FINAL ORDER OF FORFEITURE


      WHEREAS, on March 17, 2006, this Court entered a Preliminary
Order of Forfeiture, ordering defendant to forfeit:

      A Ruger P95DC 9mmx19 semiautomatic pistol, serial number
      31448334

and

      WHEREAS, the United States determined that the above

referenced firearm is a stolen firearm; and
      WHEREAS, the Court finds that defendant DEXTER ROSS had an

interest in the property that is subject to forfeiture pursuant

to Title 18 U.S.C. Section 924(d) and Title 28 U.S.C. Section

2461(c).
      NOW   THEREFORE, IT IS HEREBY ORDERED, ADJUDGED AND DECREED

that the asset described as:

      A Ruger P95DC 9mmx19 semiautomatic pistol, serial number
      31448334

is hereby forfeited to the United States of America pursuant to

Title 21, United States Code, §853.

      IT IS FURTHER ORDERED, ADJUDGED AND DECREED that all right,

title and interest to the property described above is hereby

condemned, forfeited and vested in the United States of America,
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and shall be disposed of.

     SO ORDERED this 25th day of May, 2006.




                                  _______________________________
                                  UNITED STATES DISTRICT JUDGE
